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 4

 5
     Attorney for Defendant
     VI A. LE
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR. S-10-443 TLN
                                                      )
10
                                                      )
            Plaintiff,                                )       DEFENDANT’S WAIVER OF
11
                                                      )       APPEARANCE; ORDER
     v.                                               )
12
                                                      )
     VI A. LE,                                        )
13
                                                      )       Judge: Honorable Troy L. Nunley
                                                      )
14          Defendant.                                )
                                                      )
15
                                                      )
                                                      )
16

17

18
            Pursuant to Fed.R.Crim.P. 43, defendant, VI A. LE, hereby waives the right to be present
19
     in person in open court upon the hearing of any motion or other proceeding in this case,
20
     including, but not limited to, when the case is set for trial, when a continuance is ordered, and
21
     when other action is taken by the Court before or after trial, except upon arraignment, initial
22
     appearance, trial confirmation hearing, entry of plea, and every stage of trial including verdict,
23
     impanelment of jury and imposition of sentence.
24
            Defendant hereby requests the Court to proceed during every absence of his which the
25
     Court may permit pursuant to this waiver and agrees that his interests will be deemed represented
26
     at all times by the presence of his attorney, the same as if the defendant were personally present.
27
     Defendant further agrees to be present in Court ready for trial any day and hour the Court may
28
     fix in his absence.


                                                          1
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 1          The defendant further acknowledges that he has been informed of his rights under Title
 2   18 U.S.C §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to set times and
 3   delays without his personal appearance.
 4

 5   Dated: 9/18/13
 6

 7                                                       /s/ Vi A. Le
                                                         VI A. LE
 8
                                                         (Original retained by attorney)
 9

10
            I concur in Mr. Le’s decision to waive his presence at future proceedings.
11

12
     Dated: 9/18/13                                      Respectfully submitted,
13

14
                                                         /s/ John R. Manning
15                                                       JOHN R. MANNING
                                                         Attorney at Law
16
                                                         Attorney for Defendant
17                                                       Vi A. Le

18

19          IT IS SO ORDERED.

20   Dated: September 19, 2013

21

22

23
                                                        Troy L. Nunley
24                                                      United States District Judge

25

26

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